Case 2:15-cv-05346-CJC-E Document 438-1 Filed 10/09/20 Page 1 of 7 Page ID #:28277




                           Exhibit 
         Evidence Packet in Support of Defendant’s Motions for Summary Judgment



           U.S.D.C., Central District of California, Case No.: FY&-&(




                                                                    Evidence Packet P.0001
                                 Case 2:15-cv-05346-CJC-E Document 438-1 Filed 10/09/20 Page 2 of 7 Page ID #:28278




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                                                10
                                                     Attorneys for Defendant Walt Disney Parks
                                                11   and Resorts U.S., Inc.
MCDERMOTT WILL & EMERY LLP




                                                12
                             ATTORNEYS AT LAW




                                                                                     UNITED STATES DISTRICT COURT
                               LOS ANGELES




                                                13
                                                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                14
                                                15   T.P., by and through S.P., as next friend,            Case No. 2:15-cv-05346-CJC-E
                                                     parent, and natural guardian, et al.,
                                                16                                                         DECLARATION OF JEREMY M.
                                                                                Plaintiff,                 WHITE IN SUPPORT OF
                                                17                                                         DISNEY’S MOTIONS FOR
                                                             v.                                            SUMMARY JUDGMENT ON
                                                18                                                         K.A.C.’S, J.L.C.’S, V.J.B.’S,
                                                     Walt Disney Parks and Resorts U.S., Inc.,             S.L.B.’S, Y.Z.’S AND M.Y.R.’S
                                                19                                                         CLAIMS AGAINST DISNEY
                                                                                Defendant.
                                                20                                                         Date: November 9, 2020
                                                                                                           Time: 1:30 p.m.
                                                21                                                         Judge: Hon. Cormac J. Carney
                                                                                                           Courtroom: 9B
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                                                      White Decl. ISO Disney’s Mot. for Summ. J. on                         (No. 2:15-CV-05346-CJC-E)
                                                      K.A.C.’s, J.L.C.’s, V.J.B.’s, S.L.B.’s, Y.Z.’s and
                                                      M.Y.R.’s Claims


                                                                                                                          Evidence Packet P.0002
                               Case 2:15-cv-05346-CJC-E Document 438-1 Filed 10/09/20 Page 3 of 7 Page ID #:28279




                                                 1          I, Jeremy M. White, declare as follows:
                                                 2          1.       I am an attorney with the law firm of McDermott Will & Emery LLP,
                                                 3   attorneys of record for defendant Walt Disney Parks and Resorts U.S., Inc.
                                                 4   (“Disney”) in the above-captioned matter. I have reviewed the documents attached
                                                 5   hereto and have knowledge of their contents. The following statements are based on
                                                 6   my own personal knowledge or upon my review of the records and files maintained
                                                 7   by McDermott Will & Emery LLP in the course of its representation of Disney.
                                                 8          2.       This declaration is made in support of Disney’s Motions for Summary
                                                 9   Judgment on the claims of the Bellwether IV plaintiffs (K.A.C., J.L.C., V.J.B.,
                                                10   S.L.B., Y.Z. and M.Y.R.).
                                                11          3.       Plaintiffs failed to submit any expert disclosures or expert reports by the
MCDERMOTT WILL & EMERY LLP




                                                12   Court’s December 31, 2019 expert disclosure deadline.
                             ATTORNEYS AT LAW
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                                                13          4.       Attached hereto as Exhibit 1-A is a true and accurate copy of excerpts
                                                14   of the May 8, 2017 deposition of Jenny Sweetman.
                                                15          5.       Attached hereto as Exhibit 1-B is a true and accurate copy of excerpts
                                                16   of the certified transcript of the July 7, 2015 deposition of Alison Armor in the matter
                                                17   of A.L. v. Walt Disney Parks and Resorts U.S., Inc., Case No. 6:14-cv-01544-Orl-
                                                18   22GJK, which is pending in the U.S. District Court for the Middle District of Florida.
                                                19          6.       Attached hereto as Exhibit 1-C is a true and accurate copy of excerpts
                                                20   of the certified transcript of the January 27, 2015 deposition of Mark Lee Jones in the
                                                21   matter of A.L. v. Walt Disney Parks and Resorts U.S., Inc., Case No. 6:14-cv-01544-
                                                22   Orl-22GJK, which is pending in the U.S. District Court for the Middle District of
                                                23   Florida.
                                                24          7.       Attached hereto as Exhibit 1-D is a true and accurate copy of excerpts
                                                25   of the certified transcript of the April 28, 2015 deposition of Greg Hale in the matter
                                                26   of A.L. v. Walt Disney Parks and Resorts U.S., Inc., Case No. 6:14-cv-01544-Orl-
                                                27   22GJK, which is pending in the U.S. District Court for the Middle District of Florida.
                                                28   White Decl. ISO Disney’s Mot. for Summ. J. on        -2-               (No. 2:15-CV-05346-CJC-E)
                                                     K.A.C.’s, J.L.C.’s, V.J.B.’s, S.L.B.’s, Y.Z.’s and
                                                     M.Y.R.’s Claims DM_US 170992283-
                                                     1.043919.0018DM_US 170992283-1.043919.0018


                                                                                                                       Evidence Packet P.0003
                              Case 2:15-cv-05346-CJC-E Document 438-1 Filed 10/09/20 Page 4 of 7 Page ID #:28280




                                                 1          8.       Attached hereto as Exhibit 1-E is a true and accurate copy of excerpts
                                                 2   of the certified transcript of the September 11, 2015 deposition of Jill L. Kelderman
                                                 3   Walsh, Ph.D., in the matter of A.L. v. Walt Disney Parks and Resorts U.S., Inc., Case
                                                 4   No. 6:14-cv-01544-Orl-22GJK, which is pending in the U.S. District Court for the
                                                 5   Middle District of Florida.
                                                 6          9.       Attached hereto as Exhibit 1-F is a true and accurate copy of the
                                                 7   December 31, 2019 expert report of Jill L. Kelderman Walsh, Ph.D. regarding the
                                                 8   claims of plaintiffs K.A.C., V.J.B. and Y.Z.
                                                 9          10.      Attached hereto as Exhibit 1-G is a true and accurate copy of the
                                                10   December 31, 2019 expert report of Ronald Schouten, M.D., J.D., regarding the
                                                11   claims of plaintiff M.Y.R.
MCDERMOTT WILL & EMERY LLP




                                                12          11.      Attached hereto as Exhibit 1-H is a true and accurate copy of the
                             ATTORNEYS AT LAW
                               LOS ANGELES




                                                13   December 31, 2019 expert report of Ronald Schouten, M.D., J.D., regarding the
                                                14   claims of plaintiff J.L.C.
                                                15          12.      Attached hereto as Exhibit 1-I is a true and accurate copy of excerpts of
                                                16   the certified transcript of the September 18, 2015 deposition of Bruce Laval in the
                                                17   matter of A.L. v. Walt Disney Parks and Resorts U.S., Inc., Case No. 6:14-cv-01544-
                                                18   Orl-22GJK, which is pending in the U.S. District Court for the Middle District of
                                                19   Florida.
                                                20          13.      Attached hereto as Exhibit 1-J is a true and accurate copy of the May
                                                21   18, 2017 declaration of Bruce Laval, and attached hereto as Exhibits 1-K through 1-
                                                22   Q are true and accurate copies of Exhibits 1 through 7 to the May 18, 2017
                                                23   declaration of Bruce Laval.
                                                24          14.      Attached hereto as Exhibit 1-R is a true and accurate redacted copy of
                                                25   the Order Granting Defendant’s Motion for Summary Judgment in Galvan v. Walt
                                                26   Disney Parks & Resorts U.S., Inc., Case No. 8:18-cv-01721-AB-FFM, Doc. 87 (C.D.
                                                27   Cal. Nov. 27, 2019).
                                                28   White Decl. ISO Disney’s Mot. for Summ. J. on        -3-              (No. 2:15-CV-05346-CJC-E)
                                                     K.A.C.’s, J.L.C.’s, V.J.B.’s, S.L.B.’s, Y.Z.’s and
                                                     M.Y.R.’s Claims DM_US 170992283-
                                                     1.043919.0018DM_US 170992283-1.043919.0018


                                                                                                                     Evidence Packet P.0004
                               Case 2:15-cv-05346-CJC-E Document 438-1 Filed 10/09/20 Page 5 of 7 Page ID #:28281




                                                 1           15.     Attached hereto as Exhibit 1-S is a true and accurate copy of excerpts of
                                                 2   the certified transcript of the December 3, 2019 deposition of S.L.B.
                                                 3           16.     Attached hereto as Exhibit 1-T is a true and accurate copy of excerpts
                                                 4   of the certified transcript of the December 4, 2019 deposition of B.W.B.
                                                 5           17.     Attached hereto as Exhibit 1-U is a true and accurate copy of a V.J.B.
                                                 6   medical record Bates stamped 3P-VJB-000173 to 3P-VJB-000190, which is Exhibit
                                                 7   2 to the deposition of S.L.B.
                                                 8           18.     Attached hereto as Exhibit 1-V is a true and accurate copy of a V.J.B.
                                                 9   medical record Bates stamped 3P-VJB-000143 to 3P-VJB-000161, which is Exhibit
                                                10   3 to the deposition of S.L.B.
                                                11           19.     Attached hereto as Exhibit 1-W is a true and accurate copy of a V.J.B.
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                                                12   medical record Bates stamped 3P-VJB-000106 to 3P-VJB-000108, which is Exhibit
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                                                13   23 to the deposition of S.L.B.
                                                14           20.     Attached hereto as Exhibit 1-X is a true and accurate copy of excerpts
                                                15   of the certified transcript of the November 11, 2019 deposition of J.L.C.
                                                16           21.     Attached hereto as Exhibit 1-Y is a true and accurate copy of excerpts
                                                17   of the certified transcript of the November 12, 2019 deposition of F.C.
                                                18           22.     Attached hereto as Exhibit 1-Z is a true and accurate copy of excerpts
                                                19   of K.A.C. and J.L.C.’s Answers to Defendant’s First Interrogatories, dated May 4,
                                                20   2016.
                                                21           23.     Attached hereto as Exhibit 1-AA is a true and accurate copy of excerpts
                                                22   of K.A.C. and J.L.C.’s Answers to Defendant’s Second Set of Interrogatories, dated
                                                23   October 4, 2019.
                                                24           24.     Attached hereto as Exhibit 1-BB is a true and accurate copy of excerpts
                                                25   of the certified transcript of the December 16, 2019 deposition of Dr. Stephen Elliott.
                                                26           25.     Attached hereto as Exhibit 1-CC is a true and accurate copy of excerpts
                                                27   of the certified transcript of the December 17, 2019 deposition of Dr. Carissa Meyer.
                                                28   White Decl. ISO Disney’s Mot. for Summ. J. on        -4-             (No. 2:15-CV-05346-CJC-E)
                                                     K.A.C.’s, J.L.C.’s, V.J.B.’s, S.L.B.’s, Y.Z.’s and
                                                     M.Y.R.’s Claims DM_US 170992283-
                                                     1.043919.0018DM_US 170992283-1.043919.0018


                                                                                                                     Evidence Packet P.0005
                               Case 2:15-cv-05346-CJC-E Document 438-1 Filed 10/09/20 Page 6 of 7 Page ID #:28282




                                                 1          26.      Attached hereto as Exhibit 1-DD is a true and accurate copy of excerpts
                                                 2   of the certified transcript of the December 17, 2019 deposition of Angela K. Klutts,
                                                 3   M.Ed., BCBA.
                                                 4          27.      Attached hereto as Exhibits 1-EE and 1-FF are true and accurate copies
                                                 5   of excerpts of the certified transcript of the November 12 and 13, 2019, respectively,
                                                 6   deposition of M.Y.R.
                                                 7          28.      Attached hereto as Exhibit 1-GG is a true and accurate copy of excerpts
                                                 8   of the certified transcript of the November 14, 2019 deposition of F.Z.
                                                 9          29.      Attached hereto as Exhibit 1-HH is a true and accurate copy of Y.Z. and
                                                10   M.Y.R.’s Responses to Disney’s First Set of Interrogatories dated May 4, 2016,
                                                11   which is Exhibit 8 to the deposition of M.Y.R.
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                                                12          30.      Attached hereto as Exhibit 1-II is a true and accurate copy of Y.Z.’s
                             ATTORNEYS AT LAW
                               LOS ANGELES




                                                13   DAS Card, which is Exhibit 7 to the deposition of M.Y.R.
                                                14          31.      Attached hereto as Exhibit 1-JJ is a true and accurate copy of a Y.Z.
                                                15   medical record Bates stamped YZ,MYR0028 to YZ,MYR0040, which is Exhibit 1 to
                                                16   the deposition of M.Y.R.
                                                17          32.      Attached hereto as Exhibit 1-KK is a true and accurate copy of a Y.Z.
                                                18   medical record Bates stamped YZ,MYR0013 to YZ,MYR0025, which is Exhibit 2 to
                                                19   the deposition of M.Y.R.
                                                20          33.      Attached hereto as Exhibit 1-LL is a true and accurate copy of a Y.Z.
                                                21   medical record Bates stamped YZ,MYR0001 to YZ,MYR0007, which is Exhibit 4 to
                                                22   the deposition of M.Y.R.
                                                23          34.      Attached hereto as Exhibit 1-MM is a true and accurate copy of a
                                                24   summary analysis of attraction wait times for the dates of Y.Z.’s November 2013
                                                25   visit to Disneyland, which is Exhibit 10 to the deposition of M.Y.R.
                                                26          35.      Attached hereto as Exhibit 1-NN is a true and accurate copy of a
                                                27   May 14, 2013 New York Post article by Tara Palmeri entitled Rich Manhattan Moms
                                                28   White Decl. ISO Disney’s Mot. for Summ. J. on        -5-              (No. 2:15-CV-05346-CJC-E)
                                                     K.A.C.’s, J.L.C.’s, V.J.B.’s, S.L.B.’s, Y.Z.’s and
                                                     M.Y.R.’s Claims DM_US 170992283-
                                                     1.043919.0018DM_US 170992283-1.043919.0018


                                                                                                                     Evidence Packet P.0006
                             Case 2:15-cv-05346-CJC-E Document 438-1 Filed 10/09/20 Page 7 of 7 Page ID #:28283




                                                 1   Hire Handicapped Tour Guides so Kids Can Cut Lines at Disney World, which is
                                                 2   Bates stamped DisneyCA-TP0021870 to DisneyCA-TP0021871.
                                                 3          36.      Attached hereto as Exhibit 1-OO is a true and accurate copy of a May
                                                 4   14, 2013 FoxNews.com article entitled Moms Pay $1,000-a-Day To Hire Disabled
                                                 5   Members To Skip Lines at Disney, which is Bates stamped DisneyCA-TP0003816 to
                                                 6   DisneyCA-TP0003818.
                                                 7          37.      Attached hereto as Exhibit 1-PP is a true and accurate copy of a May
                                                 8   31, 2013 Today.com article by Jeff Rossen and Josh Davis entitled Undercover at
                                                 9   Disney: “Deplorable” Scheme To Skip Lines, which is Bates stamped
                                                10   AL,DL001701-AL,DL001703.
                                                11          I declare under penalty of perjury that the foregoing is true and accurate to the
MCDERMOTT WILL & EMERY LLP




                                                12   best of my knowledge and belief.
                             ATTORNEYS AT LAW
                               LOS ANGELES




                                                13          Executed on this 9th day of October, 2020.
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                                                                                                           Jeremy M. White
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                                                28   White Decl. ISO Disney’s Mot. for Summ. J. on        -6-                    (No. 2:15-CV-05346-CJC-E)
                                                     K.A.C.’s, J.L.C.’s, V.J.B.’s, S.L.B.’s, Y.Z.’s and
                                                     M.Y.R.’s Claims DM_US 170992283-
                                                     1.043919.0018DM_US 170992283-1.043919.0018


                                                                                                                             Evidence Packet P.0007
